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        1 Brian C. Rocca, S.B #221576                         Glenn D. Pomerantz, Bar No. 112503
          brian.rocca@morganlewis.com                         glenn.pomerantz@mto.com
        2 Sujal J. Shah, S.B #215230                          Kuruvilla Olasa, Bar No. 281509
          sujal.shah@morganlewis.com                          kuruvilla.olasa@mto.com
        3 Michelle Park Chiu, S.B #248421                     MUNGER, TOLLES & OLSON LLP
          michelle.chiu@morganlewis.com                       350 South Grand Avenue, Fiftieth Floor
        4 Leigha Beckman, Bar No. 334611                      Los Angeles, California 90071
          leigha.beckman@morganlewis.com                      Telephone: (213) 683-9100
        5 MORGAN, LEWIS & BOCKIUS LLP
          One Market, Spear Street Tower                      Justin P. Raphael, Bar No. 292380
        6 San Francisco, CA 94105                             justin.raphael@mto.com
          Telephone: (415) 442-1000                           Dane P. Shikman, Bar No. 313656
        7 Facsimile: (415) 422-1001                           dane.shikman@mto.com
                                                              MUNGER, TOLLES & OLSON LLP
       8 Neal Kumar Katyal, pro hac vice                      560 Mission Street, Twenty Seventh Fl.
         neal.katyal@hoganlovells.com                         San Francisco, California 94105
       9 Jessica L. Ellsworth, pro hac vice                   Telephone: (415) 512-4000
         jessica.ellsworth@hoganlovells.com
      10 Reedy C. Swanson, pro hac vice                       Jonathan I. Kravis, pro hac vice
         reedy.swanson@hoganlovells.com                       jonathan.kravis@mto.com
      11 HOGAN LOVELLS US LLP                                 MUNGER, TOLLES & OLSON LLP
         555 13th St. NW                                      601 Massachusetts Ave. NW, Ste 500E
      12 Washington, D.C. 20004                               Washington, D.C. 20001
         Telephone: (202) 637-5600                            Telephone: (202) 220-1100
      13
         Counsel for Defendants
      14

      15                                   UNITED STATES DISTRICT COURT
      16                                NORTHERN DISTRICT OF CALIFORNIA

      17                                         SAN FRANCISCO DIVISION

      18

      19      IN RE GOOGLE PLAY STORE                        Case No. 3:21-md-02981-JD
              ANTITRUST LITIGATION
      20
              THIS DOCUMENT RELATES TO:                      DECLARATION OF VITOR
      21                                                     BACCETTI IN SUPPORT OF
              Epic Games Inc. v. Google LLC et al.,          GOOGLE’S MOTION FOR PARTIAL
      22      Case No. 3:20-cv-05671-JD                      STAY OF PERMANENT INJUNCTION
                                                             PENDING APPEAL
      23
                                                             Judge: Hon. James Donato
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        1                                 DECLARATION OF VITOR BACCETTI

        2
                     1.       I am a Group Product Manager at Google. In that role, I am responsible for app
        3
            distribution at Google Play. The facts set forth herein are within my personal knowledge and if
        4
            called as a witness, I could and would competently testify to them.
        5
                     2.       In my declaration in support of Google’s proffer regarding the technical
        6
            implementation and anticipated resource allocation required for Epic’s proposed remedies, I
        7
            explained that:
        8
                          a. the catalog-access remedy will require substantial resources to implement and
        9
                              large-scale updates across all apps in the Play store’s app catalog on a regular
      10
                              basis. Given the immense risk that comes with allowing third-party app stores to
      11
                              access the Play store’s catalog, Google would want to implement eligibility
      12
                              criteria for app stores who seek access to ensure that user safety and security is
      13
                              upheld.
      14
                          b. Allowing for distribution of app stores within Google Play would require an
      15
                              overhaul of the Google Play store’s design and functionality which would require
      16
                              enormous resources.
      17
            Dkt. 981-1.
      18
                     3.       I participated in the remedies hearing held on August 14, 2024.
      19
                     4.       I have reviewed the District Court’s injunction (Dkt. 1017) as it relates to the
      20
            remedies I discussed in my earlier declaration: catalog access and distribution of third-party
      21
            stores through the Play store.
      22
                     5.       I offer this further declaration as my current analysis of the impact of
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            implementing the injunction on Google Play, which has over half-a-million U.S. developers and
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            over a hundred million U.S. users. Overall, although Google will do our best to deliver the
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        1   required projects on time, in my experience compressed deadlines like those that the Court has

        2   adopted can result in higher risks to users and developers because of unforeseen circumstances

        3   and the inability to iterate and test.

        4                                                    Catalog Access

        5            6.      I understand that the District Court’s injunction requires Google to provide full

        6   Play catalog access to all third-party Android app stores (¶ 11). The catalog-access remedy is

        7   resource intensive, requiring Google to (1) ensure that all developers with apps in the Play

        8   store’s catalog may opt out of Google’s distribution of the developer’s IP; (2) export and refresh

        9   metadata associated with the apps in the Play store’s catalog to participating app stores; (3) fulfill

      10    the install for any app downloaded in a third-party app store from the Play store catalog; and (4)

      11    develop a plan for subsequent updates of the app.

      12             7.      In its history, Google has never offered third-party app stores direct access to the

      13    Play store catalog. And I am not aware of any other app store on any platform that has ever

      14    offered such a service. Accordingly, as I explain further below, the injunction would require

      15    Google to design new systems, user interfaces, and APIs (application programming interfaces) to

      16    accomplish these tasks.

      17             8.      In addition, the District Court’s injunction raises security concerns. For example,

      18    despite Google’s request, the injunction does not appear to contain any provision concerning

      19    Google’s ability to vet third-party app stores, or otherwise set eligibility criteria, to ensure that

      20    only legitimate and safe app stores obtain access to the apps in Google’s catalog, which contains

      21    over 2 million apps in the United States. Google works hard to protect data from leaks and

      22    hackers, in part by implementing multiple layers of strong safeguards to protect developers’ data

      23    and intellectual property and end users from malicious actors.

      24             9.      In its remedies proffer (Dkt. 981-1 at 5-6), Google proposed to address this

      25    concern by establishing eligibility criteria for app stores requesting catalog access, including a

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        1   requirement that an app store has a minimum number of apps in its own catalog and the basic

        2   infrastructure to conduct app store business; a requirement that the app store forbid malware,

        3   pirated or unlocked apps, and other illegal content; a requirement that the app store has catalog

        4   review procedures in place to enforce those rules; and has agreed to terms of use with Google.

        5            10.     Without any eligibility criteria, any individual or entity could declare itself a

        6   “third party Android app store” and demand that Google share proprietary catalog data with that

        7   individual or entity and facilitate installation of every app in the Play store catalog from that

        8   individual or entity’s website or app, whether or not that website or app is a legitimate,

        9   operational app store in any sense.

      10             11.     Rather than a system under which app developers can “opt in” to this novel

      11    catalog access program (as Google requested in its remedies proffer), the District Court’s

      12    injunction mandates a developer “opt out” system. As Google explained in its remedies proffer,

      13    a developer opt out system is not sufficient to protect the intellectual property and reputational

      14    rights of app developers. Under such a system, Google would be required to allow any third-

      15    party app store (including app stores that traffic in malware or pirated apps or adult content) to

      16    list the developer’s app in its catalog unless and until the developer affirmatively opts out. This

      17    system places a burden on app developers to monitor the status of their apps on Play.

      18             12.     I have reviewed my original estimates on the resources required for timing and

      19    implementation in light of the injunction’s requirement that Google adopt this feature in 8

      20    months and would apply only in the United States. See Dkt. 981-1 at 7-10.

      21             13.     I believe that the number of personnel required is largely unchanged, except that

      22    we would not create a mechanism for more frequent updates or engage in onboarding of stores to

      23    the same degree. See Dkt. 981-1 at 8-10. Additionally, the ongoing maintenance would last 3

      24    years. See id. I do not believe that these reductions in the scope of the work will have any

      25    impact on the timing of the project, because the remainder of the work will be occurring in

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        1   parallel. Additionally, limiting the features to only the United States adds some modest

        2   complexity to the project, but should not materially add to the required resources.

        3            14.     An important part of the catalog sharing program would be the integration of

        4   third-party stores with the APIs that Google implements to perform the catalog sharing function.

        5   This integration is the “onboarding of stores” component of the project that I discuss in the

        6   previous paragraph. In light of the compressed timeline, Google is unlikely to have a robust

        7   mechanism, process, and documentation program for this integration in place on the effective

        8   date. This will likely slow the overall rollout and likely require app stores to be onboarded to

        9   participate in the program on a phased basis rather than all at once.

      10             15.     To meet the deadline set by the injunction, Google must immediately begin

      11    spending a significant portion of the resources required to implement catalog sharing. See Dkt.

      12    981-1 at 8-10; Dkt. 982-3 at 3-5.

      13                              Distribution of Third-Party Stores Through Play

      14             16.     I understand that the District Court’s injunction requires Google to distribute

      15    third-party app stores on Play.

      16             17.     As I explained in a declaration filed with the remedies proffer (Dkt. 981-1 at 10-

      17    15), this remedy will likely involve making significant changes to the Play store’s design. The

      18    Play store as it exists today is designed to safely distribute apps, not app stores. To implement

      19    the remedy proposed in Epic’s injunction, Google would have to develop new flows in the Play

      20    Developer Console to allow developers to declare an app store, agree to abide by Play store

      21    policies for the apps that it carries, and accept additional terms of service. For reference, the

      22    currently operative Developer Distribution Agreement, to which all developers of apps must

      23    adhere, is attached as Exhibit A.

      24             18.      Google needs to determine whether and how it must make changes across many

      25    surfaces in the Play Developer Console to add support for app stores. It must also determine

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        1   whether and how to create new Play store surfaces to handle the display of app stores within the

        2   store as well, and design mechanisms for Play store users to identify what is an app store and

        3   make changes across the Play Store surfaces to support this. In addition, Google needs to

        4   consider and develop a charging model for third-party app stores, and would likely build and

        5   implement a warning that advises users when they are about to install an app store given that app

        6   stores have certain permissions on a device that regular apps do not.

        7            19.     Google also needs to determine the eligibility and security criteria to apply for

        8   app stores to be distributed through the Play store, and determine the human processes and

        9   technology to monitor and enforce compliance with those rules. This includes policies relating

      10    to inappropriate or illegal content, piracy and impersonation, and malware, among others things.

      11             20.     I have reviewed my original estimates on the resources required for timing and

      12    implementation in light of the injunction’s requirement that Google adopt this feature in 8

      13    months and would apply only in the United States. See Dkt. 981-1 at 12-15.

      14             21.     I believe that the number of personnel required is largely unchanged, except that

      15    the ongoing maintenance would last only 3 years and the period for the app store review program

      16    launch would likely be shorter. See Dkt. 981-1 at 14-15. I do not believe that these reductions in

      17    the scope of the work will have any impact on the timing of the project, because the remainder of

      18    the work will be occurring in parallel. Additionally, limiting the features to only the United

      19    States adds some modest complexity to the project, but geographic limitations are generally

      20    familiar to the Play store and should not materially add to the required resources.

      21             22.     I believe that the compressed timeline described in the previous paragraph will

      22    result in less time to design the user interface and user experience involved in hosting third-party

      23    app stores. In particular, the injunction’s timeline will result in less time for planning and

      24    iteration before the engineering work must begin, and less time to receive feedback from partners

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        1   during the testing phase. I believe that the final product will be lower quality as a result of the

        2   compressed timeline and carry higher risk to users and developers as a result.

        3            23.     To meet the deadline set by the injunction, Google must immediately begin

        4   spending a significant portion of the resources required to implement catalog porting. See Dkt.

        5   981-1 at 12-15; Dkt. 982-3 at 5-8.

        6

        7            I declare under penalty of perjury that the foregoing is true and correct. Executed on this

        8   11th day of October 2024 in New York, New York.

        9

      10                                                       ______________________________
                                                                          Vitor Baccetti
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                      EXHIBIT A
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     Google Play Developer Distribution
     Agreement
     Effective as of February 5, 2024 (view archived version)

     1. Definitions
     Authorized Provider: A third-party non-Google entity authorized by Google to provide services that
     enable Developers to receive payments for Products that are sold to users of Devices via Google
     Play.

     Brand Features: The trade names, trademarks, service marks, logos, domain names, and other
     distinctive brand features of each party, respectively, as owned (or licensed) by such party from
     time to time.

     Developer or You: Any person or company who provides Products for distribution through Google
     Play in accordance with the terms of this Agreement.

     Developer Account: A publishing account issued to a Developer in connection with the distribution
     of Developer Products via Google Play.

     Device: Any device that can access Google Play.

     Google: Google LLC, a Delaware limited liability company with principal place of business at 1600
     Amphitheatre Parkway, Mountain View, CA 94043, United States; Google Ireland Limited, a
     company incorporated in Ireland with principal place of business at Gordon House, Barrow Street,
     Dublin 4, Ireland; Google Commerce Limited, a company incorporated in Ireland with principal
     place of business at Gordon House, Barrow Street, Dublin 4, Ireland; or Google Asia Pacific Pte.
     Limited, a company incorporated in Singapore with principal place of business at 70 Pasir Panjang
     Road, #03-71, Mapletree Business City, Singapore 117371. Google may update the Google entities
     and their addresses from time to time.

     Google Play: The software and services, including the Play Console, which allow Developers to
     distribute Products to users of Devices.



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     Intellectual Property Rights: All patent rights, copyrights, trademark rights, rights in trade secrets,
     database rights, moral rights, and any other intellectual property rights (registered or unregistered)
     throughout the world.

     Payments Profile: A financial service account or profile provided by a Payment Processor to a
     Developer that enables a Payment Processor to collect and remit payments to the Developer on
     the Developer's behalf for Products sold via Google Play.

     Payment Processor(s): A Google-affiliated entity providing services that enable Developers to
     receive payments for Products sold via Google Play.

     Play Console: The Google Play Console and other online tools or services provided by Google to
     developers at https://play.google.com/apps/publish, as may be updated from time to time. The Play
     Console is also available through an app to developers.

     Products: Software, content, digital materials, and other items and services as made available by
     Developers via the Play Console.

     Taxes: All government-imposed charges, including taxes, duties, imposts, and withholdings. The
     term Taxes excludes communication taxes and similar fees and surcharges; property taxes; and
     taxes based on each Party’s net income, franchise taxes, business and occupation taxes, and other
     similar tax types. Each Party is responsible for its own net income taxes. For the avoidance of
     doubt, the term Taxes includes Transaction Taxes.

     Transaction Taxes: Any Taxes that are imposed on the purchase price or cost of goods or
     services, including value-added taxes (VAT), goods and services taxes (GST), sales taxes,
     government levies and transfer taxes.


     2. Accepting this Agreement
     2.1 This agreement ("Agreement") forms a legally binding contract between You and Google in
     relation to Your use of Google Play to distribute Products. You are contracting with the applicable
     Google entity based on where You have selected to distribute Your Product (as set forth here). You
     acknowledge that Google will, solely at Your direction, and acting pursuant to the relationship
     identified in Section 3.1, display and make Your Products available for viewing, download, and
     purchase by users. In order to use Google Play to distribute Products, You accept this Agreement
     and will provide and maintain complete and accurate information in the Play Console.

     2.2 Google will not permit the distribution of Your Products through Google Play, and You may not
     accept the Agreement, unless You are verified as a Developer in good standing.



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     2.3 If You are agreeing to be bound by this Agreement on behalf of Your employer or other entity,
     You represent and warrant that You have full legal authority to bind Your employer or such entity to
     this Agreement. If You do not have the requisite authority, You may not accept the Agreement or
     use Google Play on behalf of Your employer or other entity.


     3. Commercial Relationship, Pricing, Payments, and Taxes
     3.1 You hereby appoint Google as Your agent or marketplace service provider as outlined here to
     make Your Products available in Google Play, and subject to the terms and conditions of this
     Agreement, Google will allow You to use Google Play for Your Products.

     3.2 This Agreement covers both Products that users can access for free and Products that users
     pay a fee to access. In order for You to charge a fee for Your Products and to be paid for Products
     distributed via Google Play, You must have a valid Payments Profile under a separate agreement
     with a Payment Processor, be approved by a Payment Processor for a Payments Profile, and
     maintain that profile in good standing. If there is a conflict between Your Payment Processor
     agreement and this Agreement, the terms of this Agreement will apply.

     3.3 Products are displayed to users at prices You establish in Your sole discretion. If You utilize
     Google Play’s billing system or the Play Console to control settings related to any taxes (including
     taxes, fees, or surcharges that are outside the scope of this Agreement) on the sale of Products, or
     if Google believes that Taxes may be owed by You or Google on the sale of Products, You grant
     Google permission to charge, collect, and discharge any such taxes as required in accordance with
     applicable law. For the avoidance of doubt, You remain responsible for any such taxes, fees, or
     surcharges, including as provided under Section 3.5. You may set the price for Your Products in the
     currencies permitted by Google, the Payment Processor, and, where applicable, the Authorized
     Provider. Google may display the price of Products to users in their native currency, but Google is
     not responsible to You for the accuracy of currency rates or currency conversion.

     3.4 Acting as Your agent, and with You acting as a principal, Google is the merchant of record for
     Products sold or made available to users in the countries/territories described here. You are the
     merchant of record for Products You sell or make available via Google Play to all other users. The
     sales price You set for Products will determine the amount of payment You will receive. A "Service
     Fee", as set forth here (as may be revised by Google with notice to You in accordance with Section
     15), will be calculated and charged on the sales price. The Service Fee is exclusive of Transaction
     Taxes of any and all kinds required by any applicable governmental tax authority to be charged,
     and Google is entitled to the Service Fee without reduction for any taxes or government levies,
     including any Taxes applicable to transactions described under Section 3.5 or Section 3.6. As per
     applicable law, to the extent Google is responsible to discharge Transaction Taxes arising on
     Service Fees, Google will charge You such Transaction Taxes, and You are responsible for paying

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     any Transaction Taxes arising on the Service Fee. More information about the Service Fee can be
     found here.

     3.5 Except in certain countries/territories and subject to certain conditions as described here (which
     may be updated with notice to You), You are responsible for Transaction Taxes on the sale or
     provision of Products to users, including (but not limited to): (a) determining if the transaction is
     taxable; (b) charging and collecting the Transaction Taxes at the applicable rate; (c) remitting the
     Transaction Taxes to the applicable governmental tax authority; and (d) providing any required
     documentation to the user or applicable governmental tax authority. You are solely responsible for
     providing and maintaining accurate inputs that impact taxes on Products, including for any tax
     categorization of Products. Any adjustments that You make to the tax categorization of Products will
     take effect only for future sales of Products. Google will determine whether Google, the Payment
     Processor, or the Authorized Provider is obligated to collect or remit any Transaction Taxes in
     respect of any transaction and such Transaction Taxes may be recovered from You, deducted from
     payment due to You, or recovered from the user. Where Google collects and remits Transaction
     Taxes in applicable countries/territories, You may recognize a deemed supply from You to Google
     solely for Transaction Tax purposes if required by applicable law. You will be solely responsible for
     any Tax obligations arising from such deemed supply.

     3.6 Where the Authorized Provider notifies Google that it or another Authorized Provider is required
     by applicable (local) legislation or by the applicable governmental tax authority to declare, charge,
     deduct, or withhold any taxes on a sale of Your Products, or where Google or a Payment Processor
     reasonably determines that it is required by applicable (local) legislation or by the applicable
     governmental tax authority to declare, charge, deduct, or withhold any taxes (in each case,
     "Withholding Taxes"), Google will also deduct the amount of such Withholding Taxes from the
     amount Google remits to You. Withholding Taxes include, but are not limited to, withholding tax
     obligations on cross-border payments or imposed by telecommunications taxes. You agree to
     timely provide, as soon as reasonably practicable, any tax documentation or certification requested
     by Google. Unless You are a resident of the United States or Singapore for income tax purposes,
     You hereby certify that any services that You provide to users through Your Product are not
     performed in the United States or Singapore, and furthermore You agree to provide written
     notification to Google at least ninety (90) days prior to any such services being performed in the
     United States or Singapore. Written notification on change in service location may be emailed to
     play-tax-notices@google.com.

     3.7 You may also choose to make Products available for free. If the Product is free, You will not be
     charged a Service Fee. To avoid unexpected fees for users, You agree that Products that were
     initially offered free of charge to users will remain free of charge. Any additional charges will
     correlate with an alternative or supplemental version of the Product.



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     3.8 You authorize Google to give users refunds in accordance with the Google Play refund policies
     as located here or the local versions made available to You, and You agree that Google may deduct
     the amount of those refunds from payments to You. In all other respects, the Payment Processor’s
     standard terms and conditions regarding refunds will apply. User refunds may be exclusive of taxes
     previously charged to users for Product purchases.

     3.9 Users are allowed unlimited reinstalls of each Product distributed via Google Play without any
     additional fee, provided however, that if You remove any Product from Google Play due to a Legal
     Takedown (as defined in Section 8.2), that Product will be removed from all portions of Google Play,
     and users will no longer have a right or ability to reinstall the affected Product.


     4. Use of Google Play by You
     4.1 You and Your Product(s) must adhere to the Developer Program Policies.

     4.2 You are responsible for uploading Your Products to Google Play, providing required Product
     information and support to users, and accurately disclosing the permissions necessary for the
     Product to function on user Devices.

     4.3 You are responsible for maintaining the confidentiality of any developer credentials that Google
     may issue to You or that You may choose Yourself, and You are solely responsible for all Products
     that are developed under Your developer credentials. Google may limit the number of Developer
     Accounts issued to You or to the company or organization You work for.

     4.4 Except for the license rights granted by You in this Agreement, Google agrees that it obtains no
     right, title, or interest from You (or Your licensors) under this Agreement in or to any of Your
     Products, including any Intellectual Property Rights in those Products.

     4.5 You may not use Google Play to distribute or make available any Product that has a purpose
     that facilitates the distribution of software applications and games for use on Android devices
     outside of Google Play.

     4.6 You agree to use Google Play only for purposes that are permitted by this Agreement and any
     applicable law, regulation, or generally accepted practices or guidelines in the relevant jurisdictions
     (including any laws regarding the export of data or software to and from the United States or other
     relevant countries).

     4.7 Users are instructed to contact You concerning any defects or performance issues in Your
     Products and You are responsible for undertaking or handling the support and maintenance of Your
     Products and any complaints about Your Products. You agree to supply and maintain valid and
     accurate contact information that will be displayed in each of Your Products’ detail page and made
     available to users for customer support and legal purposes. For Your paid Products or in-app
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     transactions, You agree to respond to customer support inquiries within 3 business days, and within
     24 hours to any support or Product concerns stated to be urgent by Google.

     4.8 You agree that if You make Your Products available through Google Play, You will protect the
     privacy and legal rights of users. If the users provide You with, or Your Product accesses or uses,
     usernames, passwords, or other login information or personal information, You agree to make the
     users aware that the information will be available to Your Product, and You agree to provide legally
     adequate privacy notice and protection for those users. Further, Your Product may only use that
     information for the limited purposes for which the user has given You permission to do so. If Your
     Product stores personal or sensitive information provided by users, You agree to do so securely
     and only for as long as it is needed. However, if the user has opted into a separate agreement with
     You that allows You or Your Product to store or use personal or sensitive information directly related
     to Your Product (not including other products or applications), then the terms of that separate
     agreement will govern Your use of such information. If the user provides Your Product with Google
     Account information, Your Product may only use that information to access the user's Google
     Account when, and for the limited purposes for which, the user has given You permission to do so.

     4.9 You will not engage in any activity with Google Play, including making Your Products available
     via Google Play, that interferes with, disrupts, damages, or accesses in an unauthorized manner
     the devices, servers, networks, or other properties or services of any third party including, but not
     limited to, Google or any Authorized Provider.

     4.10 You are solely responsible for, and Google has no responsibility to You for, Your Products,
     including use of any Google Play APIs and for the consequences of Your actions, including any loss
     or damage which Google may suffer.

     4.11 Google Play allows users to rate and review Products. Only users who download the
     applicable Product will be able to rate and review it on Google Play. For new Developers without
     Product history, Google may use or publish performance measurements such as uninstall and/or
     refund rates to identify or remove Products that are not meeting acceptable standards, as
     determined by Google. Google reserves the right to display Products to users in a manner that will
     be determined at Google's sole discretion. Your Products may be subject to user ratings and
     reviews to which You may not agree. If you have concerns regarding such ratings and reviews, you
     may report it via the Play Console.


     5. Authorizations
     5.1 Upon making Your Product available on Google Play, You authorize Google on a non-exclusive,
     worldwide, and royalty-free basis to: reproduce, perform, display, analyze, and use Your Products in
     connection with (a) the operation and marketing of Google Play; (b) the marketing of devices and
     services that support the use of the Products and the marketing of the Products on Google Play
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     and Devices; (c) the provision of hosting services to You and on Your behalf to allow for the storage
     of and user access to the Products and to enable third -party hosting of such Products; (d) making
     improvements to Google Play, Play Console, and Android platform; and (e) checking for compliance
     with this Agreement and the Developer Program Policies. The authorization in clause (e) is
     sublicensable to application security partners for the sole purpose of checking for compliance with
     this Agreement and the Developer Program Policies. You also authorize such application security
     partners to use the results of their review in their products and research that may be publicly
     available. For clarity, the authorizations provided under this Section will cease upon termination of
     the Agreement.

     5.2 You authorize Google to perform the acts described in this section subject to Your control and
     direction in the manner indicated in the Play Console.

     5.3 You grant to the user a nonexclusive, worldwide, and perpetual license to perform, display, and
     use the Product. The user may include, but is not limited to, a family group and family members
     whose accounts are joined together for the purpose of creating a family group. Family groups on
     Google Play will be subject to reasonable limits designed to prevent abuse of family sharing
     features. Users in a family group may purchase a single copy of the Product (unless otherwise
     prohibited, as for in-app and subscription Products) and share it with other family members in their
     family group. If, in the Play Console, You opt in to allowing users to share previously purchased
     Products, Your authorization of sharing of those purchases by those users is subject to this
     Agreement. If You choose, You may include a separate end user license agreement (“EULA”) in
     Your Product that will govern the user’s rights to the Product, but, to the extent that EULA conflicts
     with this Agreement, this Agreement will supersede the EULA. You acknowledge that the EULA for
     each of the Products is solely between You and the user. Google will not be responsible for, and will
     not have any liability whatsoever under, any EULA.


     6. Brand Features and Publicity

     6.1 Each party will own all right, title, and interest, including, without limitation, all Intellectual
     Property Rights, relating to its Brand Features. Except to the limited extent expressly provided in
     this Agreement, neither party grants, nor will the other party acquire, any right, title, or interest
     (including, without limitation, any implied license) in or to any Brand Features of the other party.

     6.2 Subject to the terms and conditions of this Agreement, Developer grants to Google and its
     affiliates a limited, nonexclusive, royalty-free license during the term of this Agreement to display
     Developer Brand Features, submitted by Developer to Google, for use solely within Google Play,
     online or on Devices and in each case solely in connection with the distribution and sale of
     Developer's Product via Google Play or to otherwise fulfill its obligations under this Agreement.



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     6.3 In addition to the license granted in Section 6.2 above, for purposes of marketing the presence,
     distribution, and sale of Your Product via Google Play and its availability for use on Devices and
     through other Google services, Google and its affiliates may include visual elements from Your
     Product (including characters and videos of game play) and Developer Brand Features (a) within
     Google Play, on Devices, and in any Google-owned online or mobile properties; (b) in online,
     mobile, television, out of home (e.g. billboard), and print advertising formats outside Google Play;
     (c) when making announcements of the availability of the Product; (d) in presentations; and (e) in
     customer lists which appear either online or on mobile devices (which includes, without limitation,
     customer lists posted on Google websites).

     6.4 Google grants to Developer a limited, nonexclusive, worldwide, royalty- free license to use the
     Android Brand Features for the term of this Agreement solely for marketing purposes and only in
     accordance with the Android Brand Guidelines.

     6.5 If this Agreement is terminated for any reason in accordance with Section 10, or if You
     discontinue the distribution of specific Products via Google Play, Google will cease use of the
     discontinued Products' Brand Features pursuant to this Section 6, except as necessary to allow
     Google to effectuate reinstalls by users.


     7. Promotional Activities
     7.1 Google may run promotional activities offering coupons, credits, and/or other promotional
     incentives for paid transactions and/or user actions for Your Products and in-app transactions solely
     in connection with Google Play promotions and, for gift card promotions, also on Google authorized
     third-party channels ("Promotion(s)"), provided that (a) amounts payable to You will not be
     impacted; (b) there will be clear communication to users that the Promotion is from Google and not
     You; (c) the prices You establish will be clearly communicated to users; (d) any redemption of the
     Promotion will be fulfilled by Google or, for gift card Promotions, through a Google authorized third
     party; and (e) Google will be responsible for compliance with applicable law for the Promotion. To
     the extent prohibited by applicable law, Google will not condition or otherwise withhold Promotions,
     featuring, or marketing, based on whether You prioritize distributing Your apps on Google Play
     before other Android app stores.

     7.2 In addition to the rights granted in Section 6, You grant Google the right to use Your Brand
     Features (in the form and manner provided by You) for purposes of marketing Promotions in
     connection with Google Play and, for gift card Promotions, on Google authorized third-party
     channels; provided however, that Google will only use Brand Features owned by You on authorized
     third- party channels.


     8. Product Takedowns
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     8.1 You may remove Your Products from future distribution via Google Play at any time, but You
     agree to comply with this Agreement and the Payment Processor's Payments Profile terms of
     service for any Products distributed via Google Play prior to removal, including, but not limited to,
     refund requirements. Removing Your Products from future distribution via Google Play does not (a)
     affect the rights of users who have previously purchased or downloaded Your Products; (b) remove
     Your Products from Devices or from any part of Google Play where previously purchased or
     downloaded applications are stored on behalf of users; or (c) change Your obligation to deliver or
     support Products or services that have been previously purchased or downloaded by users.

     8.2 Notwithstanding Section 8.1, in no event will Google maintain on any portion of Google Play
     (including, without limitation, the part of Google Play where previously purchased or downloaded
     applications are stored on behalf of users) any Product that You have removed from Google Play
     and provided written notice to Google that such removal was due to (a) an allegation of
     infringement, or actual infringement, of any third party Intellectual Property Right; (b) an allegation
     of, or actual violation of, third party rights; or (c) an allegation or determination that such Product
     does not comply with applicable law (collectively "Legal Takedowns"). If a Product is removed from
     Google Play due to a Legal Takedown and an end user purchased such Product within a year (or a
     longer period as local consumer law mandates) before the date of takedown, at Google's request,
     You agree to refund to the end user all amounts paid by such end user for such Product.

     8.3 Google does not undertake an obligation to monitor the Products or their content. If Google
     becomes aware and determines that a Product or any portion thereof (a) violates any applicable
     law; (b) violates this Agreement, applicable policies, or other terms of service, as may be updated in
     accordance with their terms; (c) violates terms of distribution agreements with device
     manufacturers and Authorized Providers; or (d) creates potential liability for, or may have an
     adverse impact on, Google or Authorized Providers (for example, if a Product has an adverse
     economic, reputational or security-related impact); then Google may reject, remove, suspend, limit
     the visibility of a Product on Google Play, or reclassify the Product from Google Play or from
     Devices. Google reserves the right to suspend and/or bar any Product and/or Developer from
     Google Play or from Devices. If Your Product contains elements that could cause serious harm to
     user devices or data, Google reserves the right to disable the Product or remove it from Devices on
     which it has been installed. If Your Product is rejected, removed, or suspended from Google Play or
     from Devices pursuant to this Section 8.3, then Google may withhold payments due to Developer.
     For information about the appeal process if Your Product is subject to a Legal Takedown or has
     been removed or suspended, please, see here.

     8.4 Google enters into distribution agreements with device manufacturers and Authorized Providers
     to place the Google Play software client application(s) on Devices. These distribution agreements
     may require the involuntary removal of Products in violation of the Device manufacturer's or
     Authorized Provider's terms of service.

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     9. Privacy and Information
     9.1 Any data collected or used pursuant to this Agreement is in accordance with Google’s Privacy
     Policy.

     9.2 In order to continually innovate and improve Google Play, related products and services, and
     the user and Developer experience across Google products and services, Google may collect
     certain usage statistics from Google Play and Devices including, but not limited to, information on
     how the Product, Google Play, and Devices are being used.

     9.3 The data collected is used in the aggregate to improve Google Play, related products and
     services, and the user and Developer experience across Google products and services.
     Developers have access to certain data collected by Google via the Play Console and certain
     Google Play APIs. Google relies on the European Commission’s Standard Contractual Clauses for
     transfers of personal data out of the European Economic Area, Switzerland, and the United
     Kingdom to countries which are not covered by an adequacy decision (e.g., the United States). By
     using Google Play, you agree to the Google Controller-Controller Data Protection Terms. Your use
     of certain Google Play APIs may be subject to additional data transfer provisions or the specific,
     prevailing terms of service of Google Play APIs, such as the Google Play Developer API Terms of
     Service.


     10. Terminating this Agreement

     10.1 This Agreement will continue to apply until terminated, subject to the terms that survive
     pursuant to Section 16.9, by either You or Google as set forth below.

     10.2 You may terminate this Agreement at any time. If You terminate this Agreement, You will
     unpublish all of Your Products and cease Your use of the Play Console and any relevant developer
     credentials.

     10.3 Google may terminate this Agreement with You immediately upon written notice or with thirty
     (30) days prior written notice if required under applicable law if (a) You have breached any provision
     of this Agreement, any non-disclosure agreement, or other agreement relating to Google Play or
     the Android platform; (b) Google is required to do so by law; (c) You cease being an authorized
     developer, a developer in good standing, or are barred from using Android software; (d) Google
     decides to no longer provide Google Play; or (e) You or Your Product pose a potential risk for
     economic, reputational, or security-related harm to Google, users, or other third-party partners.
     Where allowed under applicable law, Google may also terminate this Agreement with You for any
     reason with thirty (30) days prior written notice. If Google terminates this Agreement, You will no
     longer have access to the Play Console. More information on account termination is located here.

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     10.4 After termination of this Agreement, Google will not distribute Your Product, but may retain and
     use copies of the Product for support of Google Play and the Android platform.


     11. Representations and Warranties
     11.1 You represent and warrant that You have all Intellectual Property Rights in and to Your
     Product(s), including the right to monetize Your Product(s) on Your own behalf and not solely acting
     as an agent or appointee on behalf of any other person.

     11.2 If You use third-party materials, You represent and warrant that You have the right to distribute
     the third-party material in the Product. You agree that You will not submit material to Google Play
     that is subject to third -party Intellectual Property Rights unless You are the owner of such rights or
     have permission from their rightful owner to submit the material.

     11.3 You represent and warrant that, as the principal to the transaction with the user, You are solely
     responsible for compliance worldwide with all applicable laws and other obligations.

     11.4 You represent and warrant that all information that You provide to Google or users in
     connection with this Agreement or Your Products will be current, true, accurate, supportable and
     complete.


     12. DISCLAIMER OF WARRANTIES
     12.1 TO THE MAXIMUM EXTENT PERMITTED BY LAW, YOU UNDERSTAND AND EXPRESSLY
     AGREE THAT THE PLAY CONSOLE AND GOOGLE PLAY ARE PROVIDED "AS IS" AND "AS
     AVAILABLE" WITHOUT WARRANTY OF ANY KIND.

     12.2 TO THE MAXIMUM EXTENT PERMITTED BY LAW, YOUR USE OF THE PLAY CONSOLE
     AND GOOGLE PLAY AND ANY MATERIAL DOWNLOADED OR OTHERWISE OBTAINED
     THROUGH THE USE OF THE PLAY CONSOLE AND GOOGLE PLAY IS AT YOUR OWN
     DISCRETION AND RISK AND YOU ARE SOLELY RESPONSIBLE FOR ANY DAMAGE TO YOUR
     COMPUTER SYSTEM OR OTHER DEVICE OR LOSS OF DATA THAT RESULTS FROM SUCH
     USE.

     12.3 TO THE MAXIMUM EXTENT PERMITTED BY LAW, GOOGLE FURTHER EXPRESSLY
     DISCLAIMS ALL WARRANTIES AND CONDITIONS OF ANY KIND, WHETHER EXPRESS OR
     IMPLIED, INCLUDING, BUT NOT LIMITED TO, THE IMPLIED WARRANTIES AND CONDITIONS
     OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, AND NON-INFRINGEMENT.


     13. LIMITATION OF LIABILITY

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     TO THE MAXIMUM EXTENT PERMITTED BY LAW, YOU UNDERSTAND AND EXPRESSLY
     AGREE THAT GOOGLE, ITS SUBSIDIARIES AND AFFILIATES, AND ITS LICENSORS WILL NOT
     BE LIABLE TO YOU UNDER ANY THEORY OF LIABILITY FOR ANY INDIRECT, INCIDENTAL,
     SPECIAL, CONSEQUENTIAL, OR EXEMPLARY DAMAGES THAT MAY BE INCURRED BY YOU,
     INCLUDING ANY LOSS OF DATA, WHETHER OR NOT GOOGLE OR ITS REPRESENTATIVES
     HAVE BEEN ADVISED OF OR SHOULD HAVE BEEN AWARE OF THE POSSIBILITY OF ANY
     SUCH LOSSES ARISING.


     14. Indemnification

     14.1 To the maximum extent permitted by law, You agree to defend, indemnify, and hold harmless
     Google, its affiliates, and their respective directors, officers, employees and agents, and Authorized
     Providers from and against any and all third party claims, actions, suits, or proceedings, as well as
     any and all losses, liabilities, damages, costs, and expenses (including reasonable attorneys’ fees)
     arising out of or accruing from (a) Your use of the Play Console and Google Play in violation of this
     Agreement; (b) infringement or violation by Your Product(s) of any Intellectual Property Right or any
     other right of any person; or (c) You or Your Product(s)’ violation of any law.

     14.2 To the maximum extent permitted by law, You agree to defend, indemnify, and hold harmless
     the applicable Payment Processors and Authorized Providers (which may include Google and/or
     third parties) and the Payment Processors’ and Authorized Providers' affiliates, directors, officers,
     employees, and agents from and against any and all third party claims, actions, suits, or
     proceedings, as well as any and all losses, liabilities, damages, costs, and expenses (including
     reasonable attorneys’ fees) arising out of or accruing from Your distribution of Products via Google
     Play.

     14.3 To the maximum extent permitted by law, You agree to defend, indemnify, and hold harmless
     Google, the applicable Payment Processor, and Authorized Provider, and each of their affiliates and
     their respective directors, officers, employees and agents, from and against any claims, actions,
     suits or proceedings as well as all losses, Taxes, liabilities, interest, penalties, or fines (including
     reasonable attorneys’ fees) arising out of or accruing from any misdeclaration, misconfiguration, or
     miscategorization by You that impacts Taxes.

     14.4. The indemnities in this section do not apply to the extent caused by Google’s, Payment
     Processor’s or Authorized Provider’s (as applicable) negligence, wilful misconduct or breach.


     15. Changes to the Agreement
     15.1 Google may make changes to this Agreement with notice to Developer and the opportunity to
     decline further use of Google Play. You should look at the Agreement and check for notice of any

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     changes regularly.

     15.2 Changes will not be retroactive. They will become effective, and will be deemed accepted by
     Developer, (a) immediately for those who become Developers after the notification is posted; or (b)
     for pre-existing Developers, on the date specified in the notice, which will be no sooner than 30
     days after the changes are posted (except changes required by law which will be effective
     immediately).

     15.3 If You do not agree with the modifications to the Agreement, You may terminate Your use of
     Google Play, which will be Your sole and exclusive remedy. You agree that Your continued use of
     Google Play constitutes Your agreement to the modified terms of this Agreement.


     16. General Legal Terms
     16.1 This Agreement, including any addenda You may have agreed to separately, constitutes the
     entire legal agreement between You and Google and governs Your use of Google Play and
     completely replaces any prior agreements between You and Google in relation to Google Play.
     Where required by applicable law, this does not affect liability for prior false, misleading or
     deceptive statements or misrepresentations. The English language version of this Agreement will
     control and translations, if any, are non-binding and for reference only.

     16.2 You agree that if Google does not exercise or enforce any legal right or remedy contained in
     this Agreement (or which Google has the benefit of under any applicable law), this will not be taken
     to be a formal waiver of Google's rights and that those rights or remedies will still be available to
     Google.

     16.3 If any court of law having the jurisdiction to decide on this matter rules that any provision of
     this Agreement is invalid, then that provision will be removed from this Agreement without affecting
     the rest of this Agreement. The remaining provisions of this Agreement will continue to be valid and
     enforceable.

     16.4 You acknowledge and agree that each member of the group of companies comprising Google
     will be a third -party beneficiary to this Agreement and that such other companies will be entitled to
     directly enforce, and rely upon, any provision of this Agreement that confers a benefit on (or rights
     in favor of) them. Other than this, no other person or company will be a third -party beneficiary to
     this Agreement.

     16.5 PRODUCTS ON GOOGLE PLAY MAY BE SUBJECT TO UNITED STATES’ AND OTHER
     JURISDICTIONS’ EXPORT CONTROL AND SANCTIONS LAWS AND REGULATIONS. YOU
     AGREE TO COMPLY WITH, AND NOT CAUSE GOOGLE TO VIOLATE, ALL EXPORT CONTROL
     AND SANCTIONS LAWS AND REGULATIONS THAT APPLY TO YOUR DISTRIBUTION OR USE

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     OF PRODUCTS, INCLUDING BUT NOT LIMITED TO (A) THE EXPORT ADMINISTRATION
     REGULATIONS MAINTAINED BY THE U.S. DEPARTMENT OF COMMERCE, (B) TRADE AND
     ECONOMIC SANCTIONS MAINTAINED BY THE U.S. TREASURY DEPARTMENT'S OFFICE OF
     FOREIGN ASSETS CONTROL, AND (C) THE INTERNATIONAL TRAFFIC IN ARMS
     REGULATIONS MAINTAINED BY THE U.S. DEPARTMENT OF STATE. THESE LAWS AND
     REGULATIONS INCLUDE RESTRICTIONS ON DESTINATIONS, USERS, AND END USE.

     16.6 Except in the case of a change of control (for example, through a stock purchase or sale,
     merger, or other form of corporate transaction), the rights granted in this Agreement may not be
     assigned or transferred by either You or Google without the prior approval of the other party. Any
     other attempt to assign is void.

     16.7 If You experience a change of control, Google may, at its discretion, elect to immediately
     terminate this Agreement.

     16.8 All claims arising out of or relating to this Agreement or Your relationship with Google under
     this Agreement will be governed by the laws of the State of California, excluding California’s conflict
     of laws provisions. You and Google further agree to submit to the exclusive jurisdiction of the
     federal or state courts located within the county of Santa Clara, California to resolve any legal
     matter arising from or relating to this Agreement or Your relationship with Google under this
     Agreement, except that You agree that Google will be allowed to apply for injunctive relief in any
     jurisdiction. To the extent required under applicable law, You may have other ways to resolve
     disputes with Google as described in the Developer Program Policies. If You are accepting the
     Agreement on behalf of a United States government entity or a United States city, county, or state
     government entity, then the following applies instead of the foregoing: the parties agree to remain
     silent regarding governing law and venue.

     16.9 Sections 1 (Definitions), 6.5, 10.4, 11 (Representations and Warranties), 12 (Disclaimer of
     Warranties), 13 (Limitation of Liability), 14 (Indemnification), and 16 (General Legal Terms) will
     survive any expiration or termination of this Agreement.




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